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MOR-1                                                   UNITED STATES BANKRUPTCY COURT
CASE NAME:    EF-290, LLC                                                                                                  PETITION DATE:                 5/29/2020
CASE NUMBER: 20-10640                                                                                                      DISTRICT OF TEXAS:         Western
PROPOSED PLAN DATE:     8/27/20                                                                                            DIVISION:                  Austin

                              MONTHLY OPERATING REPORT SUMMARY For May 2020
                                MONTH                           May-20 Month-Year                Month-Year                Month-Year                 Month-Year               Month-Year
REVENUES (MOR-6)                                                   0.00                   0.00                      0.00                       0.00                     0.00                  0.00
INCOME BEFORE INT; DEPREC./TAX (MOR-6)                        -2,124.50                   0.00                      0.00                       0.00                     0.00                  0.00
NET INCOME (LOSS) (MOR-6)                                     -2,124.50                   0.00                      0.00                       0.00                     0.00                  0.00
PAYMENTS TO INSIDERS (MOR-9)                                       0.00                   0.00                      0.00                       0.00                     0.00                  0.00
PAYMENTS TO PROFESSIONALS (MOR-9)                                  0.00                   0.00                      0.00                       0.00                     0.00                  0.00
TOTAL DISBURSEMENTS (MOR-7)                                    2,479.99                   0.00                      0.00                       0.00                     0.00                  0.00

***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***
                                                                                                                                                      CIRCLE ONE

REQUIRED INSURANCE MAINTAINED                                          Are all accounts receivable being collected within terms? N/A                  (Yes)     No
   AS OF SIGNATURE DATE                               EXP.             Are all post-petition liabilities, including taxes, being paid within terms?   (Yes)     No
________________________________                      DATE             Have any pre-petition liabilities been paid?                                   (Yes)     No
CASUALTY                       YES (x) NO ( )          ___-___-___      If so, describe          Some pre-petition vendors were paid post-petition (approx $4,000)
LIABILITY                      YES (x ) NO ( )         ___-___-___     Are all funds received being deposited into DIP bank accounts? N/A             Yes      (No)
VEHICLE                        YES ( ) NO (x)          ___-___-___     Were any assets disposed of outside the normal course of business?             Yes      (No)
WORKER'S                       YES (x) NO ( )          ___-___-___      If so, describe
OTHER                          YES (x) NO ( )          ___-___-___     Are all U.S. Trustee Quarterly Fee Payments current?                           (Yes )    No
                                                                       What is the status of your Plan of Reorganization?                             Drafting stage



ATTORNEY NAME:      Charlie Shelton                                                                    I certify under penalty of perjury that the following complete
FIRM NAME: Hajjar Peters LLP                                                                           Monthly Operating Report (MOR), consisting of MOR-1 through
ADDRESS: 3144 Bee Caves Rd                                                                             MOR-9 plus attachments, is true and correct.

CITY, STATE, ZIP: Austin, TX 78746                                                                    SIGNED X             /s/ Stacy Eppen            TITLE: Designated Representative
TELEPHONE/FAX: (512)637-4956/(512) 637-4958
                                                                                                                           Stacy Eppen                                                  17-Jul-20
MOR-1                                                                                                           (PRINT NAME OF SIGNATORY)                              DATE      Revised 07/01/98
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      CASE NAME:   EF-290, LLC
  CASE NUMBER:     20-10640



                                                 COMPARATIVE BALANCE SHEETS
ASSETS                                             May-2020              Jun-2020      Jul-2020 Month-Year      Month-Year      Month-Year      Month-Year

CURRENT ASSETS
Cash                                              181,870.43
Accounts Receivable, Net                                0.00
Inventory: Lower of Cost or Market                      0.00
Prepaid Expenses                                        0.00
Investments                                             0.00
Other                                                   0.00
TOTAL CURRENT ASSETS                              181,870.43                    0.00      0.00           0.00            0.00            0.00                      0.00
PROPERTY, PLANT & EQUIP. @ COST                 3,685,385.03
Less Accumulated Depreciation                     957,094.36
NET BOOK VALUE OF PP & E                        2,728,290.67                    0.00      0.00           0.00            0.00            0.00                      0.00
OTHER ASSETS
 1. Tax Deposits                                         0.00
 2. Security Deposits                               53,595.67
 3. Electric Deposit                                     0.00
 4.
TOTAL ASSETS                                  $2,963,756.77                  $0.00       $0.00          $0.00           $0.00           $0.00                  $0.00
                                            * Per Schedules and Statement of Affairs
            MOR-2                                                                                                                               Revised 07/01/98
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         CASE NAME:        EF-290, LLC
         CASE NUMBER:      20-10640



                                                  COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                               May-2020               Jun-2020     Jul-2020 Month-Year      Month-Year      Month-Year      Month-Year
EQUITY
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)                      1,849.50                   0.00      0.00           0.00            0.00            0.00                      0.00
PRE-PETITION LIABILITIES
 Notes Payable - Secured                         2,403,342.97
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                  2,699,846.62
 Other
TOTAL PRE-PETITION LIABILITIES                   5,103,189.59                    0.00      0.00           0.00            0.00            0.00                      0.00
TOTAL LIABILITIES                                5,105,039.09                    0.00      0.00           0.00            0.00            0.00                      0.00
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK                                         1,000.00                    0.00      0.00           0.00            0.00            0.00                      0.00
ADDITIONAL PAID-IN CAPITAL                         600,000.00
RETAINED EARNINGS: Filing Date                  -2,568,839.78
RETAINED EARNINGS: Post Filing Date                 -2,124.50                    0.00      0.00           0.00            0.00            0.00                      0.00
TOTAL OWNER'S EQUITY (NET WORTH)                -1,969,964.28                    0.00      0.00           0.00            0.00            0.00                      0.00
TOTAL
LIABILITIES &
OWNERS EQUITY                                  $3,135,074.81                   $0.00      $0.00          $0.00           $0.00           $0.00                  $0.00
                                             * Per Schedules and Statement of Affairs
           MOR-3                                                                                                                                 Revised 07/01/98
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 CASE NAME:       EF-290, LLC
 CASE NUMBER:     20-10640

                                  SCHEDULE OF POST-PETITION LIABILITIES
                                                              May-2020             Jun-2020            Jul-2020 Month-Year              Month-Year      Month-Year

TRADE ACCOUNTS PAYABLE
TAX PAYABLE
 Federal Payroll Taxes                                              0.00
 State Payroll Taxes                                                0.00
 Ad Valorem Taxes                                                   0.00
 Other Taxes                                                        0.00
TOTAL TAXES PAYABLE                                                 0.00                 0.00                0.00                0.00            0.00                      0.00
SECURED DEBT POST-PETITION                                          0.00                 0.00                0.00
ACCRUED INTEREST PAYABLE                                            0.00
ACCRUED PROFESSIONAL FEES*                                      1,849.50
OTHER ACCRUED LIABILITIES
 1.
 2.
 3.
TOTAL POST-PETITION LIABILITIES (MOR-3)                    $1,849.50                $0.00                $0.00                $0.00             $0.00                  $0.00
 *Payment requires Court Approval. Amounts reflected are not approved and have not been revised to reflect amounts to be written off.
       MOR-4                                                                                                                                            Revised 07/01/98
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 CASE NAME:    EF-290, LLC
CASE NUMBER:   20-10640

                                                             AGING OF POST-PETITION LIABILITIES
                                                             MONTH                              May-2020

       DAYS            TOTAL               TRADE                   FEDERAL                STATE            AD VALOREM,                  OTHER
                                          ACCOUNTS                  TAXES                 TAXES            OTHER TAXES
0-30                             0.00
31-60                            0.00
61-90                            0.00
91+                              0.00
TOTAL                          $0.00                 $0.00                   $0.00                $0.00             $0.00                       $0.00

                                                             AGING OF ACCOUNTS RECEIVABLE



   MONTH


0-30 DAYS                        0.00
31-60 DAYS                       0.00
61-90 DAYS                       0.00
91+ DAYS                         0.00
TOTAL                          $0.00                 $0.00                   $0.00                $0.00             $0.00                       $0.00

               MOR-5                                                                                                        Revised 07/01/98
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         CASE NAME:          EF-290, LLC
        CASE NUMBER:         20-10640
                                                                     STATEMENT OF INCOME (LOSS)
                                                                         May-2020                  Jun-2020   Jul-2020 Month-Year           Month-Year           Month-Year           Month-Year           FILING TO
                                                                                                                                                                                                           DATE
REVENUES (MOR-1)                                                             0.00                                                                                                                                             0.00
TOTAL COST OF REVENUES                                                                                                                                                                                                        0.00
GROSS PROFIT                                                                 0.00                    0.00       0.00                 0.00                 0.00                 0.00                 0.00                      0.00
OPERATING EXPENSES:
   Selling & Marketing                                                     0.00                                                                                                                                           0.00
   General & Administrative                                              275.00                                                                                                                                         275.00
   Insiders Compensation                                                   0.00                                                                                                                                           0.00
   Professional Fees                                                   1,849.50                                                                                                                                       1,849.50
   Other                                                                                                                                                                                                                  0.00
   Other                                                                                                                                                                                                                  0.00
TOTAL OPERATING EXPENSES                                              2,124.50                       0.00       0.00                 0.00                 0.00                 0.00                 0.00              2,124.50
INCOME BEFORE INT, DEPR/TAX (MOR-1)                                  -2,124.50                       0.00       0.00                 0.00                 0.00                 0.00                 0.00             -2,124.50
INTEREST EXPENSE                                                          0.00                                                                                                                                            0.00
DEPRECIATION                                                              0.00                                                                                                                                            0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                                                   0.00
OTHER ITEMS**                                                                                                                                                                                                             0.00
TOTAL INT, DEPR & OTHER ITEMS                                             0.00                       0.00       0.00                 0.00                 0.00                 0.00                 0.00                  0.00
NET INCOME BEFORE TAXES                                              -2,124.50                       0.00       0.00                 0.00                 0.00                 0.00                 0.00             -2,124.50
FEDERAL INCOME TAXES                                                                                                                                                                                                      0.00
NET INCOME (LOSS) (MOR-1)                                         ($2,124.50)                      $0.00      $0.00                 $0.00                $0.00                $0.00                $0.00           ($2,124.50)
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
              MOR-6                                                                                                                                                                                        Revised 07/01/98
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  CASE NAME:        EF-290, LLC
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CASH RECEIPTS AND                                                    May-2020        Jun-2020        Jul-2020 Month-Year            Month-Year            Month-Year            FILING TO
DISBURSEMENTS                                                                                                                                                                   DATE
 1. CASH-BEGINNING OF MONTH                                      181,870.43          $0.00           $0.00                 $0.00                 $0.00                 $0.00        $181,870.43
RECEIPTS:
 2. CASH SALES                                                          0.00                                                                                                                       0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                   0.00                                                                                                                       0.00
 4. LOANS & ADVANCES (attach list)                                      0.00                                                                                                                       0.00
 5. SALE OF ASSETS                                                      0.00                                                                                                                       0.00
 6. OTHER (attach list)                                                 0.00                                                                                                                       0.00
TOTAL RECEIPTS**                                                        0.00           0.00            0.00                 0.00                  0.00                  0.00                       0.00
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                                              0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                        0.00                                                                                                                 0.00
 8. PAYROLL TAXES PAID                                                 0.00                                                                                                                 0.00
 9. SALES, USE & OTHER TAXES PAID                                      0.00                                                                                                                 0.00
10. SECURED/RENTAL/LEASES                                              0.00                                                                                                                 0.00
11. UTILITIES & TELEPHONE                                              0.00                                                                                                                 0.00
12. INSURANCE                                                      2,204.99                                                                                                             2,204.99
13. INVENTORY PURCHASES                                                0.00                                                                                                                 0.00
14. VEHICLE EXPENSES                                                   0.00                                                                                                                 0.00
15. TRAVEL & ENTERTAINMENT                                             0.00                                                                                                                 0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                    0.00                                                                                                                 0.00
17. ADMINISTRATIVE & SELLING                                         275.00                                                                                                               275.00
18. OTHER (attach list)                                                0.00                                                                                                                 0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                                2,479.99            0.00            0.00                 0.00                  0.00                  0.00            2,479.99
19. PROFESSIONAL FEES                                                  0.00                                                                                                                 0.00
20. TRUSTEE FEES                                                                                                                                                                            0.00
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                             0.00
TOTAL DISBURSEMENTS**                                              2,479.99            0.00            0.00                  0.00                  0.00                  0.00           2,479.99
22. NET CASH FLOW                                                 -2,479.99            0.00            0.00                  0.00                  0.00                  0.00          -2,479.99
23. CASH - END OF MONTH (MOR-2)                                $179,390.44           $0.00           $0.00                 $0.00                 $0.00                 $0.00        $179,390.44
                                                        * Applies to Individual debtors only
              MOR-7                                     **Numbers for the current month should balance (match)                                                                  Revised 07/01/98
                                                           RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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      CASE NAME:     EF-290, LLC
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                                            CASH ACCOUNT RECONCILIATION
                                             MONTH OF        May-2020

BANK NAME                             Horizon Bank              Horizon Bank
ACCOUNT NUMBER                        #
ACCOUNT TYPE                                OPERATING                OTHER FUNDS                    TOTAL
BANK BALANCE                                       181,870.43                                         $181,870.43
DEPOSITS IN TRANSIT                                                                                         $0.00
OUTSTANDING CHECKS                                   5,221.00                                           $5,221.00
ADJUSTED BANK BALANCE                            $176,649.43                       $0.00              $176,649.43
BEGINNING CASH - PER BOOKS                         185,902.29                                         $185,902.29
RECEIPTS*                                                                                                   $0.00
TRANSFERS BETWEEN ACCOUNTS                                                                                  $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL      DEBTOR MFR-2                                                                                $0.00
CHECKS/OTHER DISBURSEMENTS*                                                                                 $0.00
ENDING CASH - PER BOOKS                          $185,902.29                       $0.00              $185,902.29

MOR-8                                 *Numbers should balance (match) TOTAL RECEIPTS and                                                      Revised 07/01/98
                                       TOTAL DISBURSEMENTS lines on MOR-7. This was made to match as required but was contributed by the equity owner.
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CASE NAME:        EF-290, LLC
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                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                            May-2020                  Jun-2020                 Jul-2020 Month-Year                  Month-Year               Month-Year
  INSIDERS: NAME/COMP TYPE


 1. Stacy Eppen                                                     0.00                     0.00                    0.00
 2. Dane Eppen                                                      0.00                     0.00                    0.00
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                                            $0.00                   $0.00                    $0.00                   $0.00                    $0.00                       $0.00

                                                            May-2020                  Jun-2020                    Jul-20 Month-Year                 Month-Year               Month-Year
         PROFESSIONALS


 1.               Hajjar Peters                                     0.00                     0.00
 2.               AEM                                               0.00
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS            (MOR-1)                            $0.00                   $0.00                    $0.00                   $0.00                    $0.00                       $0.00

      MOR-9                                                                                                                                                                  Revised 07/01/98
